                                  UNITED STATES DISTRICT COURT
                                         DISTRICT OF MARYLAND

          CHAMBERS OF                                                                    101 WEST LOMBARD STREET
     A. DAVID COPPERTHITE                                                               BALTIMORE, MARYLAND 21201
UNITED STATES MAGISTRATE JUDGE                                                                  410-962-0946
                                                                                  MDD_ADCCHAMBERS@MDD.USCOURTS.GOV




                            STANDING ORDER CONCERNING DISCOVERY


    Dear Counsel:

            I am providing you with my informal discovery dispute procedure. Please use the expedited
    process detailed below for any disputes that remain after your good faith effort to resolve the
    dispute on your own. Please do not file any discovery motions until this process has been followed
    and I advise you that formal briefing is necessary.

            My informal discovery dispute procedure is as follows:

          At the outset, I note that you are required to attempt to resolve any discovery disputes
    among yourselves in the first instance. If you are unable to do so, you may:

            1.       File a joint brief letter (not to exceed one page) advising me that you would like me
                     to resolve a discovery dispute, noting the nature of the dispute, and confirming that
                     you have attempted to resolve it on your own and that you have held a Local Rule
                     104.7 conference. Please note that this requirement contemplates a discussion
                     between counsel, not an email exchange.

            2.       Within 24 hours of sending the joint letter noted above, counsel involved in the
                     discovery dispute shall file short letters (not to exceed three pages) setting forth
                     their respective positions. You are not to “reply” to each other’s letters. This
                     procedure contemplates that you will file your letters contemporaneously and that
                     you are already familiar with the other party’s position by virtue of your conference.

            3.       Upon review of these letters, I will determine whether a telephone conference is
                     necessary to resolve the dispute. If not, I will resolve the dispute. If so, I will
                     schedule a conference call.

            4.       It shall be the responsibility of counsel requesting the conference to arrange for a
                     conference call at the prescribed time.

             5.      I will not record the conference call. If any of you would like a court reporter to
                     record the call, it will be your responsibility to have a court reporter present in your
                     office. Of course, you must advise me and opposing counsel at the commencement
                     of the call that a record is being made.
Page 2



         I will do my best to resolve as many disputes as I can in this informal manner. If, however,
 I determine that the issues are too complicated for me to do so after hearing from you, I will direct
 that the procedures for formal briefing be followed.

       Despite the informal nature of this letter, it is an Order of the Court and will be docketed
accordingly.

                                                      Very truly yours,


                                                              /s/

                                                      A. David Copperthite
                                                      United States Magistrate Judge
